      Appellate Case: 22-1409                Document: 65           Date Filed: 07/20/2023             Page: 1
                                   UNITED STATES COURT OF APPEALS
                                            TENTH CIRCUIT
                                         Byron White United States Courthouse
                                                  1823 Stout Street
                                               Denver, Colorado 80257
                                                    (303) 844-3157

                         Oral Argument Calendar Notice / Acknowledgment Form

Name:                       Dominic E. Draye

Address:                    2101 L Street NW

City, State, Zip Code:      Washington, DC 20037

Telephone:                  (202) 331-3168                   Cell Phone:   (215) 806-1094

Email Address:              drayed@gtlaw.com

Re:        Case No(s):      22-1409

           Caption:         Alejandro Menocal, et al. v. The Geo Group, Inc.

           Argument Date: 09/18/2023

           Argument Time: 09:00 a.m.                (Arguing attorneys must report 45 minutes prior thereto)

           Courtroom/Place: Courtroom II - Denver, CO

I acknowledge receipt of the court’s calendar notice assigning the subject case(s) for:
Oral argument to be held in person before the court.

   I am substitute counsel who will appear in place of an attorney who previously filed an acknowledgment form.

✔ I am appearing on behalf of:              Other counsel will appear on behalf of:

 The Geo Group, Inc.                                                       (name of party) the Appellant.


           Signed (Recipient)         /s/ Dominic E. Draye

           Date                       07/20/2023

PLEASE NOTE:
If you have not previously registered as an ECF filer and have not filed an entry of appearance form in the
referenced appeal, you must do both before filing this acknowledgement form.

This form must be completed and electronically returned through ECF by the arguing attorney in the appeal set
within ten days. If a case is on the oral argument calendar but submitted on the briefs, this form still needs to be
completed, with the notation the matter will be submitted on the briefs. Counsel for amicus/amici curiae do not
present oral argument without written permission by the court.

When filing the calendar acknowledgement form in ECF, please read instructions. Do not deselect attorneys who
have already filed their form unless it is a one for one substitution representing the same party.

Counsel for the defendant in a criminal appeal or the petitioner in a habeas corpus, civil rights or immigration matter
must also complete and separately file a custody status questionnaire.

Questions may be directed to the 10th Circuit Calendar Team at 303.335.2708 or contact by email at
10th_Circuit_Calteam@ca10.uscourts.gov.
                                                                                                          Rev. 04/2022
